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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF OKLAHOMA

PRESTRIDGE-HUNT, MEAGAN,                          )
an individual,                                    )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                )           Case No. CIV-12-1263-M
                                                  )
OLD CHICAGO RESTAURANT, an                        )
Oklahoma corporation; and ADVANCED                )
EMPLOYER SOLUTIONS, L.L.C.,                       )
                                                  )
        Defendants.                               )

                                             ORDER

        This case is currently set on the Court’s October 2014 Trial Docket. On August 18,
2014, defendants filed a Motion to Strike Plaintiff’s Final Exhibit and Witness List [docket no.
36] alleging that plaintiff has filed witness and exhibit lists out of time without explanation and
without first seeking the Court’s leave. In light of the upcoming trial deadlines set in this matter,
the Court hereby SHORTENS plaintiff’s time to file her reply to defendants’ motion and
ORDERS plaintiff to file her response brief to defendants’ motion on or before August 25, 2014.
Defendants shall file their reply, if any, on or before August 28, 2014.

       IT IS SO ORDERED this             19th     day of August, 2014.
